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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA


                                                        CASE NO. 1:18-cv-20044-XXXX
 KALICIA BATTLE,

        Plaintiff,

 v.

 THE CITY OF MIAMI GARDENS,

       Defendants.
 ____________________________________/

                              JOINT NOTICE OF SETTLEMENT

        The Parties, by and through their undersigned counsel, hereby notifies this Court that the
 parties have reached a settlement of this matter.

                                                     Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that I electronically filed the foregoing document with the Clerk of Court
 using CM/ECF on February 16, 2018.


                                                /s/ Stephen Hunter Johnson
                                                     Stephen Hunter Johnson




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